                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 PHILIP LINDNER,                     )
                                     )
       Plaintiff,                    )
                                     )
 v.                                  )           No.: 3:21-cv-396
                                     )           Judge: Crytzer/Poplin
 JAYDEN PARKER LANGFORD, and         )           JURY DEMAND
 CHARLES FREEMAN                     )
                                     )
       Defendants.                   )
 ______________________________________________________________________________

                   JOINT MOTION FOR BRIEF CONTINUANCE
 ______________________________________________________________________________

        COMES NOW, the Parties, by and through counsel, pursuant to Rule 16(b)(4) of the

 Federal Rules of Civil Procedure, and respectfully request that the trial of this case, which is

 presently scheduled to begin on March 7, 2023, and all other unexpired deadlines contained in the

 Scheduling Order (Doc. 24), be continued. In support hereof, the parties state:

        1.      On November 16, 2022, the parties jointly requested the Court provide an extension

 of time for the parties to complete discovery. (Doc.24). The primary cause for the requested

 extension was the parties were waiting to receive highly relevant medical records and bills from

 the Plaintiff’s out-of-state medical providers, and the parties could not complete the Plaintiff’s and

 the parties’ expert depositions until receipt of same. The Court granted this request on November

 21, 2022, and gave the parties until January 31, 2023 to complete discovery. (Doc. 25).

        2.      Thereafter, the Plaintiff received the outstanding medical records and bills and

 produced them to Defendant on December 7, 2022, and the Defendant also received records it




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Case 3:21-cv-00396-KAC-DCP Document 26 Filed 01/05/23 Page 1 of 4 PageID #: 104
 requested from out of state providers. Since that time, the parties have engaged in good faith

 efforts to schedule the depositions necessary to prepare the case for trial.

         3.      The parties currently have the depositions of the Plaintiff and the Defendant

 scheduled for January 12, 2023.

         4.      After repeated requests for his availability, the Plaintiff’s treating medical provider,

 Dr. Lesniak, who is located in Pittsburg, PA, advised that he had very limited availability and only

 provided a single day in January and in February 2023 that he was available for his deposition,

 and the only mutually available date he had was for February 7, 2023. The parties seek leave to be

 allowed to take his proof deposition on that date even though it is beyond the current cut-off date.

         5.      The parties have also scheduled Defendant’s retained expert medical witness, Dr.

 O’Brien for a discovery deposition on February 13, 2023, and his proof deposition is scheduled

 for February 17, 2023. The parties seek leave to be allowed to take Dr. O’Brien’s depositions on

 these dates as well.

         6.      Given the delays in this matter caused by the untimely receipt of relevant medical

 records and bills and the limited availability of the parties’ experts, the parties respectfully request

 a continuance to provide additional time to prepare this case for trial and comply with the Court’s

 pretrial deadlines. Throughout this case the parties have worked together in good faith on discovery

 issues, dismissal of one of the Defendants, and scheduling of depositions. The parties engaged in

 further good faith efforts to avoid having to request that the Court continue the trial date, but the

 repeated delays in the receipt of the medical records and bills, and the experts’ availability

 presented unavoidable delays that the parties respectfully submit qualifies as good cause to grant

 a brief continuance.




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Case 3:21-cv-00396-KAC-DCP Document 26 Filed 01/05/23 Page 2 of 4 PageID #: 105
        WHEREFORE, the parties respectfully request for this Honorable Court to grant this

 Motion and continue the March 7, 2023 trial for 60 days and to be rescheduled when convenient

 on the Court’s docket, and to continue all unexpired deadlines in the Scheduling Order

 commensurate with the new trial date. In the alternative, if the Court is not inclined to grant the

 continuance, then the parties would pray for leave to complete the expert depositions as stated

 above and extend the deadline to file motions in limine.

        Respectfully submitted this the 5th day of January, 2023.

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                                                 3

Case 3:21-cv-00396-KAC-DCP Document 26 Filed 01/05/23 Page 3 of 4 PageID #: 106
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing document was served upon

 counsel of record via the Court’s Electronic Filing System, and/or via Email, this the 5th day of

 January, 2023.

                                             s/ Zachary J. Burkhalter
                                             Zachary J. Burkhalter




                                                4

Case 3:21-cv-00396-KAC-DCP Document 26 Filed 01/05/23 Page 4 of 4 PageID #: 107
